     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 1 of 38   1


 1                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
 2

 3     United States of America,       ) Criminal
                                       ) No. 17-201
 4                        Plaintiff,   )
                                       ) Bond Review Hearing
 5     vs.                             )
                                       ) Washington, DC
 6     PAUL JOHN MANAFORT, JR.         ) November 6, 2017
       RICHARD W. GATES, III,          ) Time: 9:30 a.m.
 7                                     )
                          Defendants. )
 8     ___________________________________________________________

 9                  TRANSCRIPT OF BOND REVIEW HEARING
                                HELD BEFORE
10                THE HONORABLE JUDGE AMY BERMAN JACKSON
                       UNITED STATES DISTRICT JUDGE
11     ____________________________________________________________

12                            A P P E A R A N C E S

13     For the Plaintiff:          GREG D. ANDRES,
                                   Senior Assistant Special Counsel
14                                 ANDREW WEISSMANN
                                   KYLE R. FREENY
15                                 U.S. Department of Justice
                                   Special Counsel's office
16                                 950 Pennsylvania Avenue NW
                                   Washington, D.C. 20530
17                                 202-514-1746

18
       FOR DEFENDANT MANAFORT: KEVIN M. DOWNING
19                             815 Connecticut Avenue, N.W.
                               Suite 730
20                             Washington, D.C. 20006
                               (202) 754-1992
21
                                   THOMAS EDWARD ZEHNLE
22                                 Miller & Chevalier, Chartered
                                   900 Sixteenth Street, NW
23                                 Washington, DC 20006
                                   (202) 626-5800
24                                 Email: Tzehnle@milchev.com

25
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 2 of 38      2


 1     FOR DEFENDANT GATES:        SHANLON WU
                                   Wu, Grohovsky & Whipple
 2                                 1300 Pennsylvania Avenue, NW
                                   Suite 700
 3                                 Washington, DC 20004
                                   (202) 204-3053
 4                                 Email: Swu@dcwhitecollar.com

 5     ALSO PRESENT:               Andre Sidbury, Pretrial Officer

 6                             Omer Meisel, Special Agent
       ____________________________________________________________
 7
       Court Reporter:             Janice E. Dickman, RMR, CRR
 8                                 Official Court Reporter
                                   United States Courthouse, Room 6523
 9                                 333 Constitution Avenue, NW
                                   Washington, DC 20001
10                                 202-354-3267

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 3 of 38          3


 1                 THE COURTROOM DEPUTY:     Your Honor, this morning we

 2     have criminal case number 17-201, the United States of

 3     America versus Paul Manafort, Jr., and Richard Gates, III.

 4     Both Mr. Manafort and Mr. Gates are present in the courtroom.

 5                 Will counsel for the parties please approach the

 6     lectern and identify yourself for the record and the party

 7     that you represent.

 8                 MR. ANDRES:    Good morning, Your Honor.      Greg

 9     Andres.   Andrew Weissmann, Kyle Freeny for the special

10     counsel is with us.      And with us at our counsel table is

11     Supervisory Special Agent Omer Meisel.

12                 THE COURT:    Good morning.

13                 MR. WU:   Good morning, Your Honor.       Shanlon Wu on

14     behalf of Mr. Gates, who's present.

15                 MR. DOWNING:    Good morning.    Kevin Downing for Mr.

16     Manafort.

17                 THE COURT:    Good morning.

18                 MR. ZEHNLE:    Good morning.    Thomas Zehnle on

19     behalf of Mr. Manafort.

20                 THE COURT:    Good morning, everyone.

21                 I appreciate all the pleadings that were filed

22     over the weekend.     I've reviewed all of them.       I also got a

23     fair number of motions for extension of time over the

24     weekend, all of which were perfectly understandable.           I

25     realize we're trying to do many things on a fast track here,
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 4 of 38            4


 1     but the reason for that is the parties asked me to do it on

 2     a fast track.

 3                Last Thursday counsel for Mr. Manafort told me he

 4     was prepared to file a bond motion that day, so I set a date

 5     for a response and scheduled a hearing for this morning.

 6     And counsel actually asked me to accelerate the process,

 7     have the hearing on Friday but then I didn't even get the

 8     bond motion until Saturday.       And as I will explain in a few

 9     minutes, it didn't contain the necessary filings.

10                Counsel also asked me to set an April trial date.

11     But I realize I didn't have any information about how long

12     is this trial going to be, what kind of motions practice am

13     I going to need to bake into the schedule.         So, I issued a

14     minute order telling the parties, you know, can you give me

15     your predictions about those things.

16                Defendant Gates quite reasonably responded:            I

17     don't know, I haven't even seen the discovery yet.             I need

18     more time before I can answer those questions.          And I

19     certainly recognize and respect that the defendants are not

20     in a position to make predictions about what they need to do

21     because they haven't even seen the discovery yet.

22                So, I went ahead and crafted a schedule based on

23     the assumption that motions would be filed, which was

24     confirmed by defendant Manafort's submission.          But one

25     question I want to talk about before we talk about a trial
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 5 of 38         5


 1     date is whether we should set a trial date now in accordance

 2     with that schedule or hold a status conference after the

 3     discovery has been provided.

 4                Does either one of defense counsel have a position

 5     about that?    Then I'm going ask the government some questions.

 6                MR. ANDRES:     Yes, Your Honor.

 7                THE COURT:    You can start.

 8                MR. ANDRES:     Judge, if I can take a crack at that,

 9     just because we've had the opportunity to discuss.             And

10     actually, we're going to propose exactly that, which was to

11     ask for a status conference in approximately five weeks, at

12     which point we could address the issue about a trial date

13     and all the scheduling, and the expectation by that time the

14     discovery will be substantially finished.

15                So having discussed with counsel for Mr. Manafort

16     and Mr. Gates, we would request a status conference in,

17     again, five weeks, and at that time be in a position to set

18     dates, if appropriate.

19                THE COURT:    All right.     Well, I think that is

20     really the sensible way to proceed.        And I can assure you

21     that while I do have several criminal trials in the early

22     part of 2018, which is somewhat unusual for this Court, I

23     have enough time in my schedule that when we're ready to set

24     a trial, we're going to be able to set one with dispatch.

25                One question I have for the government is the
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 6 of 38         6


 1     indictment is certainly very detailed about bank accounts

 2     and transfers and expenditures.       Is there any reason why the

 3     Rule 16 materials can't be produced right away?

 4                MR. ANDRES:     Judge, we're in the process of doing

 5     that.   So that you understand our process, a lot of those

 6     documents are electronic, so we are having them Bates

 7     stamped.   Our plan is to produce the material, which

 8     obviously is substantial, as Your Honor knows from our

 9     complex case designation.      We're planning on making rolling

10     productions and doing those on a disk drive, effectively, so

11     we can just hand it over to the defense.         And we can

12     certainly prioritize some of the bank records.

13                Some of the bank records the defendants have

14     because they produced them themselves.         But we'll certainly

15     prioritize that material and move as quickly as we can to

16     produce that discovery.

17                THE COURT:    All right.

18                MR. ANDRES:     Just on that -- sorry, Judge.       The

19     one other issue with respect to that is we've been in

20     discussions with defense counsel about submitting a

21     protective order for discovery.       And we have the consent of

22     both parties, of both Mr. Gates and Mr. Manafort to file

23     that unopposed, which we'll do today.        And that will help us

24     expedite the discovery process.

25                THE COURT:    Any consent motions I get for
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 7 of 38      7


 1     protective orders I usually sign very quickly, so that

 2     shouldn't be a problem.

 3                 Do I have anything scheduled for December 11, Mr.

 4     Haley?

 5                 THE COURTROOM DEPUTY:     One second, Your Honor.

 6                 (Off-the-record discussion between Court and

 7     Courtroom Deputy.)

 8                 THE COURT:    How about December 11 at 9:30 in the

 9     morning for a subsequent status conference in this case?

10     Does that work for everyone?

11                 MR. ANDRES:    That's fine for the government.

12                 MR. WU:   That's fine for Mr. Gates.

13                 MR. DOWNING:    That's fine.

14                 THE COURT:    One thing I want to note is whether it

15     makes sense for the parties to meet and confer and possibly

16     come up with a discovery schedule that includes not only the

17     documents we were talking about before, but things like the

18     FBI 302s, expert reports, if there are going to be experts,

19     grand jury transcripts, rather than my attempting to

20     generate a schedule in a vacuum.       So perhaps you can be

21     prepared, or at least see if you can come up with a joint

22     schedule.   And if not, then we should be prepared to talk

23     about a discovery schedule at the next status conference.

24                 MR. ANDRES:    That's acceptable to the government,

25     Judge.
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 8 of 38        8


 1                THE COURT:    All right.     Well, let's talk about,

 2     then, the motions for review of conditions of release.

 3                There's two pending motions.        While there's no

 4     D.C. Circuit precedent on the standard of review, as the

 5     District Court noted in the case cited by both parties, U.S.

 6     versus Saani, 557 F.Supp.2d 97, the recognized practice is

 7     that the Court reviews the bond determination made by the

 8     magistrate judge de novo.

 9                So I don't think we really need to spend any more

10     time focusing on what the magistrate judge was thinking or

11     what the understanding supposedly was when she issued her

12     order.   I'm writing on a clean slate.       And in any event,

13     you've both presented information and proposals to me that

14     weren't before her.

15                Has everyone knows, under 18 U.S. Code § 3142(b),

16     the judge is required to release the defendant on personal

17     recognizance or upon the execution of an unsecured

18     appearance bond unless the judge determines that such

19     release will not reasonably assure the appearance of the

20     person as required or will endanger the safety of any other

21     person of the community.

22                We are not talking about dangerousness here,

23     that's not an issue.     We're only talking about flight.      If

24     the Court doesn't find personal recognizance in the

25     unsecured bond to be sufficient, then under subsection (c)
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 9 of 38       9


 1     the Court shall release the defendant subject to the least

 2     restrictive further condition or combination of conditions

 3     that the Court reasonably determines will assure the

 4     appearance of the person as required.

 5                 Before we address the reasonableness of conditions

 6     that people are proposing, the first question to be answered

 7     then is whether I should find, under § 3142(c)(1), that the

 8     release described in subsection (b), that is, personal

 9     recognizance and an unsecured appearance bond, will not

10     reasonably assure the appearance of either defendant as

11     required.

12                 To be clear, that's just personal recognizance and

13     an unsecured appearance bond, which is essentially a promise

14     that if I break my promise to appear, well, then I'll pay

15     millions of dollars.     But at that point, the promisee --

16     promissor is already gone.      So there's not really much

17     assurance in that.

18                 Defendant Manafort argued in his response to the

19     government's memorandum that the unsecured bond was

20     sufficient, but his bond review motion offers to pledge

21     assets and to provide a security.        So, do you want to be

22     heard on that preliminary question, or do you concede that

23     more conditions are necessary?       And you don't have to

24     concede it, it's up to you.

25                 MR. DOWNING:    Thank you, Your Honor.      I believe in
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 10 of 38             10


 1     order to expedite the situation, we're in discussions with

 2     the government to come up with a surety package.           And I

 3     think by this afternoon we will have provided them with the

 4     information they need.

 5                 So we are happy to proceed at this time under such

 6     agreement of a surety being posted, with co-surety signing,

 7     along with properties being pledged.

 8                 THE COURT:    All right.    With respect to Mr. Gates,

 9     is it still your position that release under subsection (b)

10     would be sufficient?

11                 MR. WU:    Your Honor, it is.     But also in footnote

12     4 of our original notion, I let the Court know we are

13     engaged in active discussions with the government.              We have

14     continued those.      We are also very close to preparing a

15     surety package.     It would include the pledging of real

16     estate assets, co-signers, including his parents, as well as

17     his brother.

18                 And so I think we're very close on that point.            If

19     the Court were to rule in our favor, that personal

20     recognizance is fine, I'm certainly not going to object to

21     that.   But just for your knowledge, we are in discussions

22     with the government and we hope to move very quickly to a

23     satisfactory surety package.

24                 THE COURT:    All right.    I think that it's going to

25     be necessary for me to make all the predicate findings for
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 11 of 38         11


 1     the record.    We have a motion, first filed by defendant

 2     Gates.   The current release conditions are home confinement

 3     with GPS monitoring and the unsecured appearance bond of

 4     $5 million.    In other words, he hasn't posted bond, he just

 5     signed an agreement to pay it.        Docket 21 is his motion to

 6     modify those conditions.       He asked me to revoke the order.

 7     Meaning, I presume, the order that he be subject to home

 8     confinement.

 9                  MR. WU:   That's correct.

10                  THE COURT:    And he asked for permission to travel

11     nationally and internationally and makes no financial

12     proposal; does assert that the unsecured bond is adequate,

13     but there are other discussions going on.

14                  I have a few questions.     The only employment

15     information offered to me is a vague statement that he is a

16     consultant.    That could mean many things.        So I wondered if

17     you could tell me a little bit about the nature of his

18     business.    Does he work from an office?       Does he work from

19     his house?    Is his business incorporated?        Where?   Does it

20     have bank accounts?       Where?

21                  MR. WU:   Court's indulgence.

22                  (Off-the-record discussion between Mr. Wu and

23     Defendant Gates.)

24                  MR. WU:   Your Honor, the consulting business is a

25     self-employed business at the moment.         He's no longer
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 12 of 38   12


 1     employed by a company.      And he primarily works from his

 2     home, but there are business locations in other cities that

 3     he travels to.

 4                 And I want to clarify that with regard to any

 5     travel that he would do, first, there's actually not any

 6     likelihood there would be a need for international travel in

 7     the near future.     And domestically, we absolutely would be

 8     happy to make arrangements and notification to the pretrial

 9     services on an as-needed basis.

10                 For example, there are some business meetings

11     coming up this week, which ultimately we hope the Court

12     might allow him to work an arrangement, as the Court did for

13     this weekend when he had family members to attend to, to

14     notify pretrial services of where and when he needs to go,

15     so that time could be allotted, if the monitoring is not

16     lifted.

17                 THE COURT:    I'm certainly very disinclined to

18     permit international travel.       And if we end up with the

19     financial security that we're talking about, I feel

20     differently about travel within the United States, as long

21     as it's approved in advance.

22                 But just in terms of all the findings I have to

23     make, do you disagree with the preliminary guideline

24     calculation that was in the government's memorandum that

25     would put him at a level 32 for guideline purposes?
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 13 of 38          13


 1                 MR. WU:   No, we're not quarreling with any of the

 2     potential penalties or guidelines calculations.

 3                 THE COURT:    And at this point, you did mention

 4     your possible negotiations with the government.           Have you

 5     specifically proposed any assets or surety for their

 6     consideration?

 7                 MR. WU:   Yes, we have, Your Honor.       And those

 8     specific assets are the real estate, the house that Mr.

 9     Gates owns.    In addition to that, also pledging the value of

10     life insurance policies.       And for both of those, we're in

11     the steps of having appraisals done for the house, for

12     documents to reflect that, as well as documents to reflect

13     any equity, as well as relevant documents to identify the

14     life insurance policies and what value they may have.

15                 And the third prong of that is there are personal

16     guarantors going to sign on to guarantee whatever financial

17     aspect need to be guaranteed, and those would include his

18     parents and his wife.

19                 THE COURT:    All right.    One thing people should be

20     aware of is there are instructions and forms, I believe,

21     available through the clerk's office of what is needed.           If

22     assets are pledged, there has to be an application to

23     pledge.    Real estate, there have to be deeds of trust

24     executed.    It's a fairly complex procedure that I expect

25     counsel to comply with.
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 14 of 38         14


 1                 With respect to life insurance policies, the

 2     policies may or may not permit that.         So you need to

 3     ascertain that it is appropriate under the terms of the

 4     policies.    Mr. Manafort talked about policies that may be

 5     held in trust.     And those have a lot of restrictions.        The

 6     trustees have to permit it and, plus, I think some of these

 7     policies are subject to forfeiture anyway under the

 8     indictment.    And so I'm not sure those are appropriately

 9     used as security.     So, a lot of these details need to be

10     nailed down.

11                 Is the house in Richmond encumbered with a mortgage?

12                 MR. WU:   Yes, it is, Your Honor.       And that's part

13     of the documentation, to determine how much equity is in the

14     house.

15                 THE COURT:    All right.    Thank you.    With respect

16     to Mr. Manafort, his release conditions right now are home

17     confinement with GPS monitoring and the unsecured appearance

18     bond of $10 million.      And he's filed a motion, docket 32, to

19     modify those release conditions.        He asks to be released

20     from the home confinement and the GPS based on a pledge of

21     several pieces of property and possibly family members as

22     sureties.

23                 He asked to travel to New York City where he,

24     quote, makes his living, close quote.         And I wondered also,

25     what does he do and where does he do it?
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 15 of 38            15


 1                 MR. DOWNING:    Your Honor, Mr. Manafort is an

 2     international consultant with respect to campaigns,

 3     international investing.       And he does a lot of his work out

 4     of New York City.     And also, he does quite a bit of work

 5     down in Florida.     He's got a business down in Fort Lauderdale.

 6                 THE COURT:    What's the business?

 7                 MR. DOWNING:    It's a telecommunications business.

 8     It's developing secure cell phones, and it also does make

 9     them relatively or virtually indestructible.          So between

10     those two, his international consulting and that business,

11     that takes him to Florida and New York on a regular basis.

12                 THE COURT:    All right.    Your pleading only

13     mentioned New York, but the government mentioned Florida in

14     their pleading.     But in New York, does he have an office

15     there or his clients are there?        What are his necessity --

16                 MR. DOWNING:    His clients are in New York City and

17     he has a residency in New York City.         And I apologize for

18     not explaining the telecommunications business in more detail.

19                 THE COURT:    I just don't remember that you asked

20     to travel to Florida in the pleading.         I know you asked to

21     be able to travel to New York.

22                 MR. DOWNING:    I believe we did ask for that.

23                 THE COURT:    I'm not sure.     I noted New York.      But

24     the government said it didn't have a problem with Florida.

25                 All right.    So those are the questions I have for
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 16 of 38           16


 1     you.

 2                 I have some questions for the government.           I was

 3     not initially inclined to permit a family member to serve as

 4     a surety or to permit travel out of the D.C. area without

 5     permission.    And while I was prepared to release the

 6     defendants from home detention as long as they posted

 7     sufficient financial security, I was planning to order that

 8     they stay away from transportation facilities and to

 9     continue the GPS monitoring to monitor the geographic

10     conditions and the stay-away, as well as the possible curfew.

11                 So, can you explain to me why in your view none of

12     that is necessary?

13                 MR. ANDRES:    Sure, Judge.     Just so I have all of

14     that:   So the first is the issue with respect to family

15     members as sureties.      The second was with respect to GPS

16     versus no GPS.     And the third, I believe, was travel.

17                 THE COURT:    Right.   I mean, the idea of the GPS

18     would be they would be released from home confinement, but

19     there would be still the geographical within the D.C. area,

20     or D.C. and Richmond as to Mr. Gates.         So the GPS would

21     monitor that and the GPS would also monitor if somebody

22     suddenly showed up at an airport.

23                 Now, clearly, if they're allowed to travel to

24     New York, that might be a train.        But Florida would probably

25     involve an airport.      So there would have to be a lot of
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 17 of 38           17


 1     restrictions and explanations included.         But you said pretty

 2     strongly in your pleading, as long as they give us the

 3     financial level of comfort that we're looking for, we're

 4     willing to forgo GPS monitoring.        And that I have juxtaposed

 5     with multiple pleadings telling me what a significant flight

 6     risk they are because of their international contacts and

 7     their resources.     So, I want to know why I shouldn't impose

 8     those things.

 9                 MR. ANDRES:    Judge, it's the government's view

10     that haven taken the defendant's passports, which we think

11     we now have, that which didn't think that the GPS monitoring

12     was necessary.     There are obviously the travel restrictions.

13     We're working through a lot of these issues in terms of

14     their financial issues.      Principally and probably most

15     importantly to understand what their net worth is.              So we're

16     more advanced with Mr. Manafort than Mr. Gates.

17                 But our understanding is that Mr. Manafort's net

18     worth is somewhere in the neighborhood of $28 million.             We

19     need to do more work on that to be clear, but that's the

20     representation that counsel has made and the package that

21     he's agreed to, which would be signed by both his wife and

22     at least one of his daughters, would be somewhere in the

23     neighborhood of $10 million with assets up to that amount.

24     And it was the government's position that that was

25     sufficient in terms of conditions that would require him to
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 18 of 38    18


 1     come back.

 2                  So that addresses both the travel issue, which we

 3     think we've addressed by the taking the passports, and the

 4     family issues.

 5                  One thing with respect to Mr. Manafort, a lot of

 6     his property or a lot of the property involves other

 7     entities, it involves family members.         So those family

 8     members would necessarily have to sign in order to pledge

 9     those assets in the first place, which, again, sort of

10     necessitates family members being sureties.

11                  But given our discussions to date and the amount

12     of the assets and the size of the bond, which is significant,

13     it's the government's position that that was sufficient to

14     ensure the defendant's return to court without requiring

15     GPS.   As Your Honor has said, we're required to have the

16     least restrictive conditions, and as a result that's where

17     we landed.

18                  THE COURT:   Well, I don't have any problem --

19     obviously, it's necessary having family members cosign any

20     assets that are pledged, it's fundamental that that happen.

21     But that's different from saying, okay, instead of pledging

22     an asset to make up X dollars, I have a surety and my family

23     member is going to be my surety, that I think is a different

24     situation and that I was a little uncomfortable with because

25     an independent surety demands proof that the person has
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 19 of 38        19


 1     something to back up what they're going to put forward to

 2     the court.

 3                  MR. ANDRES:   Right.    It's really both, though,

 4     Judge.   It's both that they're securing the assets that are

 5     being pledged, and they'll also be sureties.          So both Mrs.

 6     Manafort and Mr. Manafort's daughter will also be required

 7     to the full extent of the bond, to the extent there's a

 8     violation of the bond.      So they're serving in both capacities.

 9                  THE COURT:    All right.   Well, under the terms of

10     the Bail Reform Act, the paragraph that deals with sureties

11     says that if it's not an approved surety, then the surety

12     has to provide sufficient financial information concerning

13     their assets and liabilities and whether those are

14     encumbered, so that you know if they have the assets to meet

15     the obligations.     So you're being provided with that

16     information as well?

17                  MS. ANDRES:   That's part of the process that we're

18     going through, particularly as we understand Mr. Manafort's

19     net worth, also to understand the net worth of the sureties

20     as well, that's something that we'll continue to do.

21                  THE COURT:    All right.   So do you have an idea how

22     much longer this process is going to take?

23                  MR. ANDRES:   I think for Mr. Manafort, we're

24     getting close.     We have the issues, and frankly, Your Honor

25     has identified all of them.       With the life insurance we need
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 20 of 38         20


 1     to understand what the value is and whether it can be

 2     forfeited.    We identified an issue with the Homestead Act.

 3     I'm not admitted in Florida, but I know it's an issue about

 4     pledging property in Florida, and then getting all the

 5     paperwork done.     So we're going to continue to have those

 6     discussions today and we're going to try to expedite things.

 7     But I think, fairly, we need at least two days, would be my

 8     guess, and maybe more.      But we're happy to keep the Court

 9     updated as to that.

10                  With Mr. Gates we're slightly further behind,

11     although I think we now understand the process well with

12     him, what he's pledging.       We've been given the name of

13     family members, so we can begin to do checking on that.          And

14     also we have some knowledge about his property.           But those

15     discussions are not as advanced as they are with Mr.

16     Manafort.    But again, we'll continue to speak to counsel to

17     get that done as quickly as we can.

18                  THE COURT:    Well, I very much appreciate the fact

19     that counsel are working cooperatively on everything; on

20     bond, on scheduling, on discovery.        And I think that's

21     really the way to go.      The more complex the case is the more

22     it's necessary.

23                  I think I need to make a couple of findings today.

24     You can be seated.

25                  MR. ANDRES:   Thank you.
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 21 of 38       21


 1                 THE COURT:    I'm going not going to set a due date

 2     or schedule for this.      I think it's in everyone's interest

 3     to get this done as soon as possible, particularly on the

 4     defense side of the courtroom.        So as soon as this is done,

 5     if you file something with me on paper that says it's done

 6     and this is what we propose, I'll be able to rule on it very

 7     quickly.    I don't see the point of setting another status

 8     conference to come in and tell me the status of it.             I

 9     expect that you'll let me know as soon as possible.

10                 And if you can't come to an agreement, then the

11     defendants are welcome to put the proposal to me and see if

12     I will accept it.

13                 But I do need to make a couple of findings today,

14     which I'm going to go ahead and make.

15                 As I said before, under the Bail Reform Act, 18

16     U.S. Code § 3142(c), if I determine that the release

17     described in subsection (b), that is, release on personal

18     recognizance or with an unsecured appearance bond will not

19     reasonably assure the appearance of the person as required,

20     I shall order the pretrial release of the person, A, subject

21     to the condition that he not commit a federal, state, or

22     local crime, and subject to the least restrictive further

23     conditions or combination of conditions that I determine

24     will reasonably ensure the appearance of the person as

25     required.    And those can include any of the 13 possible
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 22 of 38        22


 1     conditions listed in the statute, or other conditions that

 2     are reasonably necessary.

 3                 The factor to be considered under § 3142(g), in

 4     determining whether there are conditions that will

 5     reasonably ensure their appearance are the nature and

 6     circumstances of the charged offenses, the weight of the

 7     evidence against the defendants, the history and

 8     characteristics of the defendants, and the nature and

 9     seriousness of the danger to any person or to the community

10     that would be posed by the defendant' release.

11                 The fourth factor is not a factor here.

12                 With respect to the nature and circumstances of

13     the offense, they're detailed in the indictment.           The

14     probable cause finding has been made by the grand jury and

15     there have been additional unsealed findings made by the

16     chief judge.    These are serious alleged offenses that would

17     expose these defendants to significant penalties.

18                 Money laundering has a statutory maximum penalty

19     of 20 years.    Foreign agent registry charges can go up to

20     ten years, and other charges up to five.

21                 The guideline calculation as to Mr. Gates puts him

22     at a level 32 of an advisory sentencing guideline range of

23     121 to 151 months, or 10 to 12 1/2 years.

24                 The defendants argue the mere fact of

25     international business dealings is not illegal.           The mere
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 23 of 38         23


 1     fact of international bank accounts, overseas corporations,

 2     and international transfers are not illegal.          And they point

 3     out that the work that's involved in this case was completed

 4     several years ago.      And the government doesn't argue

 5     otherwise.    But they aren't indicted for having international

 6     clients or for having international bank accounts.              The

 7     charges are that they used those mechanisms to evade

 8     reporting of financial obligations imposed on people who

 9     perform this kind of work.       They are just charges at this

10     time.   It remains to be seen if they can be proved beyond a

11     reasonable doubt.

12                  But it is important to note for bond purposes that

13     the charges involve not only alleged failures to comply with

14     technical registration requirements and the creation of

15     intricate networks for the movement of funds, but also, much

16     more recent, false statements to the Department of Justice

17     investigators and even to their own lawyers handling the

18     registration issue.

19                  With respect to the history and characteristics of

20     defendant Gates, he turned himself in.         He has no prior

21     criminal convictions.      The significant family ties to the

22     region with his wife and children in Richmond.          He remained

23     in the United States while this investigation was underway.

24     But significant financial resources and international

25     connections are alleged.       And there have been some highly
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 24 of 38          24


 1     inconsistent previous filings itemizing the extent of his

 2     financial holdings, and there were some questions about

 3     whether he was entirely straightforward about a matter as

 4     fundamental as how many passports he had at the initial

 5     hearing, even though I think now we've got it down.

 6                 With respect to defendant Manafort, he, too,

 7     turned himself in.      He has no prior criminal history.         He

 8     returned to the United States from international travel at a

 9     time he knew this investigation was underway.          He also has a

10     wife who lives with him here in northern Virginia.              But with

11     him even more significant international connections are

12     alleged.    And when his business was described, I was told

13     he's an expert in international investing.          The indictment

14     reflects considerable sophistication in finding international

15     havens for assets and transferring them around.

16                 I realize that both of these cases are

17     distinguishable from the Anderson case and the other cases

18     mentioned by the government.       But in those cases the

19     defendants were held without any bond at all.          So the

20     distinctions don't militate against the less onerous

21     conditions that I would impose.        And the cases recognize the

22     principle of the financial wherewithal and sophistication

23     are factors be that can be fairly considered when you assess

24     the risk of flight.

25                 Considering all these factors, I find, pursuant to
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 25 of 38     25


 1     sections (b) and (c)(1), that merely some personal

 2     recognizance upon execution of an unsecured appearance bond

 3     will not reasonably assure the appearance of either

 4     defendant and that I must impose additional conditions under

 5     subsection (c)(1)(B).      But the current requirement of house

 6     arrest is not the least restrictive condition that will

 7     accomplish that goal and, therefore, I'm prepared to modify

 8     it.   The problem is that I have not yet received the

 9     information that I need to do it.

10                 Among the non-exhaustive list of conditions that a

11     Court can consider, the critical ones are here under

12     § (c)(1)(B)(xi), which is to execute an agreement to

13     forfeit, upon failing to appear as required, property of a

14     sufficient unencumbered value as is reasonably necessary to

15     assure the appearance of the person.         And under that

16     provision the defendant has to provide the Court with proof

17     of ownership and the value of the property, along with

18     information regarding existing encumbrances.

19                 Another option under the Bail Reform Act is

20     subsection (xii), which permits a defendant to execute a

21     bond with solvent sureties, who will execute an agreement to

22     forfeit in such amount as is reasonably necessary to assure

23     the appearance of the person, and shall provide the Court

24     with information regarding the value of the assets and

25     liabilities of the surety if they are other than an approved
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 26 of 38           26


 1     surety.

 2                 And then I'm entitled, under § (xiv), to impose

 3     any other conditions that are reasonably necessary.             And I

 4     have a fair amount of discretion in doing that.

 5                 Defendant Gates has not identified, as least to

 6     me, although he has begun with the government, the assets

 7     that he's going to offer as a security, nor has he indicated

 8     specific arrangements made with the surety, although I'm

 9     glad to hear that's underway.       Clearly, the government's

10     willingness to be flexible on home confinement was

11     contingent on these sorts of financial arrangements.

12                 I don't have anything to go on yet with Mr. Gates.

13     Mr. Manafort, in the pleadings to me, under the time

14     constraints he was facing this weekend, identified three

15     pieces of property that he would pledge and he estimated

16     their value at a total of $7.5 million.         That's a good

17     start, but that doesn't begin to comply with subsection (xi).

18     The government opposition revealed to me that these

19     properties are encumbered by mortgages, and it offered

20     multiple reasons to question the defendant's valuation of

21     the equity.

22                 I've already mentioned that I think there may be

23     some concerns with the insurance policies if they're not in

24     his name or they're held in trust.        It's yet to be shown

25     that they could legally be pledged under the terms of the
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 27 of 38      27


 1     policy or the trust.      And I'm also concerned about the fact

 2     that they're the same policies, some of them, that are

 3     subject to the forfeiture allegations.

 4                 Mr. Manafort assured the Court that certain family

 5     members will sign as sureties when necessary.          And as I said

 6     earlier, I think there's a difference between co-signing

 7     your property and serving as the surety.         If a family member

 8     is going to serve as a surety, I think they have to comply

 9     with the plain language of subsection (xii), which would

10     require that the Court be given information concerning their

11     assets and liabilities.

12                 So I'm not in a position to grant either motion

13     today.   We're going to have to await the provision of the

14     additional information.      I can tell you that these will be

15     the conditions or combination of conditions that I'm

16     inclined to impose to secure their appearance.

17                 First of all, in order to be relieved of the

18     condition of home confinement, the defendants must supply

19     either security under subsection (xi) or a surety under

20     subsection (xii), or both, for the $10 million and $5 million

21     appearance bonds that are now unsecured, as well as all the

22     necessary financial information.

23                 To me, a family member serving as a surety is very

24     problematical.     In any view, it should be at least an

25     approved surety or an independent individual or entity that
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 28 of 38        28


 1     complies with the statutory financial disclosure

 2     requirements.     The government doesn't seem to object to

 3     certain family members, so I'll consider it if it comes to

 4     me as a joint proposal.      But it will only be acceptable if

 5     the information that is described in subsection (xii) is

 6     provided.

 7                 No international travel is going to be a condition

 8     of this release.     And it was my inclination that the

 9     condition of remaining within the D.C. area, or D.C. plus

10     Richmond for Mr. Gates, should be a part of any order.

11     Again, with the government's consent, I may view this

12     differently.    But the defendants will not be permitted to

13     travel otherwise within the United States without the prior

14     permission of the Court and without prior submission to

15     pretrial where they're going and their itinerary.

16                 Although I may permit New York and Florida for Mr.

17     Manafort without prior permission of the Court, as long as

18     pretrial has been advised.       So, again, some of that will

19     come to me when I see what I've been provided with.

20                 I was planning to order that the defendants be

21     ordered to stay away from transportation facilities,

22     including airports and private airports.         If the government

23     is willing to forgo that once the financial constraints have

24     been established, I'm willing to consider giving that up.

25                 And I had been planning that while I would
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 29 of 38             29


 1     alleviate home confinement, that there would be some sort of

 2     curfew in the evening and that all of that, the curfew, the

 3     geographic restrictions, and the stay-away order was going

 4     to be monitored by GPS.      So that's where I was headed, but I

 5     will keep an open mind if the government and the defense can

 6     work something out that's mutually agreeable.

 7                 I recognize that the conditions are inconvenient

 8     and it's the defense position that they're unnecessary.             But

 9     I was prepared to find that they are the least restrictive

10     combination of conditions that will reasonably assure that

11     the defendants appear.      However, as I say, if financial

12     arrangements are made that satisfy the government, I may be

13     willing to impose a less restrictive regime.

14                 So given all these findings, as I said, that's the

15     basis from which we're going to proceed.         I'm not going to

16     set another date for another bond review hearing, but as

17     soon as I get something, I will review it.

18                 And so, with that, I only have a couple of issues

19     regarding the form of pleadings.        And I think we could

20     probably deal with that at the bench very briefly.              So if I

21     could have counsel --

22                 (Bench discussion:)

23                 THE COURT:    First, I just want to say that from

24     this point on, a motion to extend the date a pleading is

25     supposed to be filed has to be filed before the pleading is
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 30 of 38            30


 1     supposed to be filed, otherwise what is the point?              You've

 2     already granted yourself the extension.

 3                  Second, I want to talk about the conversation we

 4     had at the status conference last Thursday.          Mr. Downing,

 5     when I went through the fact that the government had filed a

 6     memo and you filed a response, and then I said -- I issued

 7     an order saying a bond review pleading has to be in writing,

 8     but you only filed a response, you didn't ask for anything.

 9     You stood up and said, No, in the last -- second to last

10     paragraph of my pleadings I did request relief from the bond

11     conditions.

12                  But I went back and read the last sentence of your

13     pleadings.    I was surprised when you said that because I

14     didn't remember it.      And basically, it just says the

15     continuation of the $10 million unsecured appearance bond,

16     subject to the condition that he not commit another crime

17     will more than suffice.      So, you did intimate the bond alone

18     was sufficient, but he didn't ask to be relieved of

19     anything.

20                  And the problem wasn't the form of your filing,

21     the problem was that you tried to tell me that you'd filed a

22     bond review motion when actually you hadn't.          It's a subtle

23     discrepancy, it's a minor point, but just do yourself a

24     favor from this point on, this case is going to be get more

25     complicated.    Don't tell me, if something says something it
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 31 of 38     31


 1     doesn't say.    In all likelihood you can count on the fact

 2     that I will have read it and it doesn't -- it undercuts the

 3     power of your argument and your credibility if you say, you

 4     know, that you did something that you didn't do.

 5                  Also, on the subject of pleadings filed with the

 6     Court, the prosecution filed a pleading on Thursday that

 7     they called ex parte motion for post-indictment restraining

 8     order.   You specifically asked me to enter an order

 9     concerning Mr. Manafort's assets ex parte, and offered legal

10     authority for proceeding in this manner.

11                  In other words, you weren't saying we wanted to

12     consult with the defendant and then we want you to do this;

13     you asked me to do it.      Sometimes judges would have just

14     signed it.    I thought it was highly extraordinary for a

15     judge to be communicating ex-party with the prosecution

16     after an indictment has been filed.        So I spent a fair

17     amount of time looking at the authority provided to see if

18     there was legal support to do it.

19                  And since I wasn't comfortable that there was, I

20     called for the government to explain the legal basis and the

21     justification for proceeding ex parte.         I took care, though,

22     to make sure that my response was properly sealed and it

23     only went to you because that's how we were communicating.

24     And then it turns out that while the pleading asks for

25     ex parte action, it actually had been filed on the public
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 32 of 38           32


 1     docket.    And so when I had my deputy clerk call you to find

 2     out if a mistake had been made, you said, Oh, we meant to do

 3     it, but, actually, we were planning to communicate with

 4     counsel about this.

 5                 So, I don't understand that.       What were you trying

 6     to do?    And why did you tell me it was ex parte if you were

 7     planning to tell to them about it?

 8                 MR. WEISSMANN:     I can discuss that.     One, it was

 9     not a mistake to file it.       Our understanding, we had the

10     documents, but none of them were under seal.          And so --

11     which I understand is unusual.

12                 THE COURT:    Well, if it's on the docket, it's not

13     ex parte.    They get an ECF notification anytime anything is

14     filed.    Right?

15                 MR. WEISSMANN:     But there's things that they were

16     not -- they were not entitled to.        We also had no

17     objection -- we can put the purpose in.         If the Court would

18     like to hear from the defendants, we have absolutely no

19     objection to that.      So when we heard from the Court's deputy

20     there was an issue --

21                 THE COURT:    He wasn't telling you anything.         All

22     he wanted to know was whether it was a mistake or not

23     mistake.    I don't communicate through him other than

24     scheduling matters.      But I didn't understand why you would

25     call something ex parte, ask me to do something ex parte
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 33 of 38             33


 1     when you were perfectly willing to have it public.              I don't

 2     think you use the docket to send messages to each other.             It

 3     should be because you're asking me for relief, and if you're

 4     asking me for ex parte relief, I think you have to have a

 5     basis to do it.

 6                 And it didn't make any sense -- I've never seen an

 7     ex parte pleading that wasn't sealed, because -- I mean, did

 8     you get it?    Did you get it from the ECF?        Or did everybody

 9     get it but them?

10                 MR. WU:   Yes.

11                 THE COURT:    That doesn't make any sense.

12                 MR. DOWNING:     I don't know the answer to that.

13                 MR. WU:   I believe we received it from ECF.

14                 MR. ZEHNLE:    We got it from ECF.

15                 THE COURT:    I just want everybody to take care in

16     the future.    I don't know what the status of it is anymore.

17     I guess the motion is still pending, even though it's not

18     ex parte and it's not sealed anymore.         But it also relates

19     to the same -- this is one of the insurance policies you're

20     talking about pledging.

21                 So maybe as part of whatever you're providing to

22     me, you can let me know whether you want me to do with that,

23     whether you want me to restrain it or whether you want it to

24     be pledged to the Court.

25                 So I'll hold off on ruling on the motion.            But I
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 34 of 38      34


 1     found the whole thing a little extraordinary.          And certainly

 2     I want to caution you, moving forward, that I would take a

 3     very dim view of doing anything ex parte, unless it's

 4     legally required and justified.        And I thought that the

 5     statute seemed to permit ex parte pre-indictment, but not

 6     post-indictment.      And so that was why I issued the order.

 7     But you don't have to respond.

 8                 I think you did respond to the order anyway at

 9     this point.    But I don't know if there's anything further to

10     do with that, we'll just wrap it up on the bond thing.

11                 Okay.   So I think that's everything I want to talk

12     about.

13                 MR. WU:    I can do this in open court, too, but I

14     was going to ask Your Honor, with regard to the documents

15     for valuation encumbrance on the assets, as well as any

16     identifier information for the sureties, I have a slight

17     concerned if it has to be filed with the Court, there's some

18     privacy concerns.

19                 THE COURT:    You can file a motion for leave to

20     file it under seal.      I don't have any problem with that.

21                 MR. WU:    All right.    That's fine.

22                 THE COURT:    Certainly, any account numbers have to

23     be blacked out under our court rules in the public docket.

24     Don't put the surety's personal identification, the

25     addresses, the Social Security numbers, the birth dates;
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 35 of 38            35


 1     they all have to be blacked out.        So be careful of that.

 2     I'm not seeking to invade their privacy, and that's fine.

 3                  MR. WU:   Very well.    And so Your Honor would want

 4     that independently of what we're providing to the government?

 5                  THE COURT:    If you provide it to the government

 6     and the government agrees that it's sufficient, then I don't

 7     think it all needs to be docketed.        However, if the

 8     government and you don't agree, but think this is sufficient

 9     and you're filing a motion with me to do it on that basis,

10     then I need the information.

11                  MR. WU:   I understand.    Thanks.

12                  THE COURT:    All right.   Thank you.

13                  MR. ANDRES:    Thank you, Judge.

14                  (Open court:)

15                  THE COURT:    All right.   Is there anything further

16     I need to take up today on behalf of the government?

17                  MR. ANDRES:    Not from the government, Judge.

18     Thank you.

19                  THE COURT:    Anything for Mr. Manafort?

20                  MR. DOWNING:    No, Your Honor.

21                  THE COURT:    Anything for Mr. Gates?

22                  MR. WU:   Yes, Your Honor.     A few things.       One is

23     in anticipation of your future ruling, the rest of the legal

24     team for Mr. Gates is in New York.        So we would ask you to

25     consider allowing him to go to New York for those legal
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 36 of 38       36


 1     meetings.    I belive the original conditions allowed him to

 2     travel for meetings with counsel as well.          So I just flag

 3     that now.

 4                 THE COURT:    That was to leave his house, it wasn't

 5     to leave the area.

 6                 MR. WU:   I understand.

 7                 THE COURT:    But you can put what you want to put

 8     into what you propose to me.       If he needs to travel to

 9     New York to meet with his attorneys, that may be permissible,

10     if everything else is agreed to.        But that may also be

11     something that he has to notify pretrial about before he goes.

12                 MR. WU:   Yes, Your Honor.      And on that point, in

13     the meantime, until we can get the joint proposal

14     straightened out with the government, would the Court allow

15     him, for things like family activities or a business meeting

16     domestically, to ask pretrial services and give them the

17     same type of specificity he gave over the weekend, with a

18     schedule and location?

19                 THE COURT:    At this point I think the fact of the

20     current conditions is what is getting us to work with

21     alacrity on putting together the financial information.         And

22     you're asking me and pretrial to micromanage his life on an

23     ongoing basis.     I think we can get this all done very

24     quickly and we should probably do that.

25                 If there's somewhere he has to go that isn't one
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 37 of 38      37


 1     of the places that is specifically listed, and he has to do

 2     it in the next two days, he can request the Court's

 3     permission to do it.

 4                 MR. WU:   Very well, Your Honor.

 5                 Court's indulgence for one moment.

 6                 (Off-the-record discussion between Mr. Wu and

 7     Defendant Gates.)

 8                 MR. WU:   Very well, Your Honor.       Thank you.

 9                 THE COURT:    All right.       I'll see everybody on

10     December 11.    And I will read anything I get in the

11     meantime.

12                 Thank you.

13                                    *   *   *

14

15

16

17

18

19

20

21

22

23

24

25
     Case 1:17-cr-00201-ABJ Document 37 Filed 11/07/17 Page 38 of 38   38


 1

 2                  CERTIFICATE OF OFFICIAL COURT REPORTER

 3

 4

 5                I, JANICE DICKMAN, do hereby certify that the above

 6     and foregoing constitutes a true and accurate transcript of

 7     my stenograph notes and is a full, true and complete

 8     transcript of the proceedings to the best of my ability.

 9                            Dated this 7th day of November, 2017.

10

11

12                                 /s/________________________

13                                 Janice E. Dickman, CRR, RMR
                                   Official Court Reporter
14                                 Room 6523
                                   333 Constitution Avenue NW
15                                 Washington, D.C. 20001

16

17

18

19

20

21

22

23

24

25
